Case 2:19-cv-05750-JMG Document 87-3 Filed 05/17/22 Page 1 of 6
Case 2:19-cv-05750-JMG Document 87-3 Filed 05/17/22 Page 2 of 6
Case 2:19-cv-05750-JMG Document 87-3 Filed 05/17/22 Page 3 of 6
Case 2:19-cv-05750-JMG Document 87-3 Filed 05/17/22 Page 4 of 6
Case 2:19-cv-05750-JMG Document 87-3 Filed 05/17/22 Page 5 of 6
Case 2:19-cv-05750-JMG Document 87-3 Filed 05/17/22 Page 6 of 6
